Dear Vice Chairman Kinnard,
The Attorney General has received your letter wherein you request our opinion to the following question:
"May the Oklahoma Real Estate Commission provide restricted and/orunrestricted grants, as well as enter into contractual arrangements, forthe purpose of establishing real estate courses in the stipulatedinstitutions?"
As you have noted in your letter, Title 59 O.S. 858-605 (1978) provides that:
  At any time when the total amount of monies deposited in the Oklahoma Real Estate Education and Recovery Fund exceeds Two Hundred Fifty Thousand Dollars ($250,000.00), the Commission in its discretion may expend not more than One Hundred Thousand Dollars ($100,000.00) of such excess funds each fiscal year for the following purposes:
    1. To promote the advancement of education in the field of real estate for the benefit of the general public and those licensed under the Oklahoma Real Estate License Code, but such promotion shall not be construed to allow advertising of this profession;
    2. To underwrite educational seminars and other forms of educational projects for the benefit of real estate licenses;
    3. To establish real estate courses at institutions of higher learning located in the state and accredited by the State Regents for Higher Education for the purpose of making such courses available to licensees and the general public; and
    4. To contract for a particular educational project in the field of real estate to further the purposes of the Oklahoma Real Estate License Code. (Emphasis added)
59 O.S. 858-605 is qualified by the fact the fund from which the money is to be taken must first exceed $250,000.00, and of that amount only $100,000.00 in any given year can be used for the educational purposes as outlined by this section. Because of this link to fiscal allocation of funds based upon availability thereof, any grant made under this section is subject to annual review and termination of said project or purpose if the qualifications as to amount are not met.
As to restrictions upon the grants, although it is apparent that the Commission would have to work out an agreeable arrangement with the institution for higher learning, the only specified restrictions are that: 1) the institution be located in the state, 2) accredited by the State Regents for Higher Education, and 3) that the courses offered be made available to both licensees of the Commission and to the general public.
It is, therefore, the opinion of the Attorney General that yourquestion be answered as follows:
 Pursuant to Title 59 O.S. 858-605 (1978), the Oklahoma Real EstateCommission may provide for grants or enter into contractual arrangementsfor the purpose of establishing real estate courses at institutions ofhigher learning under conditions stated therein. JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
EVERETTE D. HULL, ASSISTANT ATTORNEY GENERAL